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                                                   EXHIBIT A
                           In re New Century TRS Holdings, Inc. Case No. 07-10416-KJC (Chap. 11)
                            Movant: U. S. Bank National Association, as Trustee for Home Equity Loan Trust 2005-HE2
                                                  D&G Reference: 212969 / Saxon Batch 59

                                                Original             Current
 Loan No.    Mortgagors     Loan Date                                                  Current Value                      Property Address
                                               Loan Amt              Payoff
                                                                                                            13322 Cedar Road, Cleveland Heights, OH
2000047416    Vaughn       12/20/2004         128,250.00            138,011.15            48,000.00
                                                                                                            44118
                                                                                                            1587 South Novato Blvd 104, Novato, CA
2000047101     Sabido      12/30/2004         352,000.00            363,157.58           375,000.00
                                                                                                            94947
2000045810   P. Aguilera   12/14/2004         194,400.00            212,037.84           195,000.00         6-8 Beckside Rd., North Providence, RI 02911
